 

' Case: 4:12-mc-00599-SP|\/| Doc. #: 9 Filed: 11/09/12 Page: 1 of 2 Page|D #: 20

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI
EASTERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,

vs. Cause No.: 4:12MC00599SPM
ONE 2007 ACURA MDX,

VIN: 2HNYD28387H535949

With all appurtenances and Attachments Thereon,

ONE 2005 ACURA TL,
VIN: 19UUAA66235A020904
With all appurtenances and Attachments Thereon,

SEVENTY-THREE THOUSAND,
TWOHUNDRED, FIFTY-FOUR DOLLARS
($73,254.00) CURRENCY,

ELEVEN (l l) PIECES OF MISCELLANEOUS
JEWELRY,

VVVVVVVVVVVVVVVVVVVVVV

Defendants.
ORDER
This matter coming before the Court upon the Motion to Extend Time to File Complaint
for Forfeiture, Filed by the United States of America, and the objection thereto filed by claimant,
Jarnes Daily, and the stipulation of the parties, the Court being fully advised in the premises,
IT IS HEREBY ORDERED as follows:
l. That claimant, James Daily, shall have possession of and use of the 2005 ACURA
TL, VIN: 19UUAA66235A020904, currently in the possession of the plaintiff, effective within 3

days of the entry of this Order.

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2. That as adequate protection for the use of the above vehicle pending the
completion of these proceedings, claimant shall maintain full coverage automobile insurance on
said vehicle in an amount in compliance with the requirements of state law.

3. That claimant agrees not to sell, pledge, transfer ownership or hypothecate any
interest in said vehicle, or assist others in doing§, without the written approval of the plaintiff or
prior order of this Court.

4. Claimant shall maintain the vehicle in proper working order and perform all
maintenance as required on the vehicle,

5. In the event that the vehicle is ultimately forfeited to the plaintiff, claimant agrees
to promptly surrender the vehicle in compliance with an order of this Court.

6. That in exchange for the above agreement, claimant voluntarily withdraws his
objection to the plaintiffs request for an extension of time to file a complaint for forfeiture.

7. That Claimant Dailey’s objection filed herein (Doc. 4) is withdrawn without
prejudice.

8. That the hearing set for November 29, 2012, is hereby cancelled as moot.

IT ls so oRDERED on this _&‘_‘:iay ofM, 2012.

HONORABLE SHIRLEY P. MENSAH

United States Magistrate Judge.

 

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